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                               10                                    IN THE UNITED STATES DISTRICT COURT
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                               11                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
  Los Angeles, CA 90069




                               12
                               13   LINDA CHESLOW and STEVEN PRESCOTT,                        Case No. 4:19-cv-07467-PJH
                                    individually and on behalf of all others similarly
                               14   situated,                                                 FIRST AMENDED CLASS ACTION
                                                                                              COMPLAINT
                               15                            Plaintiffs,
                                                                                              1. VIOLATION OF CALIFORNIA
                               16             vs.                                                UNFAIR COMPETITION LAW,
                                                                                                 BUSINESS AND PROFESSIONS CODE
                               17   GHIRARDELLI CHOCOLATE COMPANY,                               § 17200, et seq.
                                    and DOES 1 through 10, inclusive,                         2. FALSE AND MISLEADING
                               18                                                                ADVERTISING IN VIOLATION OF
                                                            Defendants.                          BUSINESS AND PROFESSIONS CODE
                               19                                                                § 17500, et seq.
                                                                                              3. VIOLATION OF CALIFORNIA
                               20                                                                CONSUMERS LEGAL REMEDIES
                                                                                                 ACT, CIVIL CODE § 1750, et seq.
                               21
                                                                                              DEMAND FOR JURY TRIAL
                               22
                               23
                               24              Plaintiffs Linda Cheslow and Steven Prescott (“Plaintiffs”), individually and on behalf of all

                               25    other similarly situated purchasers (the “Class”) of Ghirardelli’s Premium Baking Chips Classic

                               26    White Chips (the “Product”) bring this class action against Ghirardelli Chocolate Company

                               27    (“Ghirardelli” or “Defendant”) and Does 1 through 10, inclusive (collectively, “Defendants”), and

                               28    allege as follows.
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                                1                                     SUMMARY OF THE ACTION
                                2          1.      Ghirardelli Chocolate Company, a company synonymous with chocolate and the
                                3    number one seller of premium chocolate in the United States, also sells fake white chocolate
                                4    baking chips and tries to pass them off as white chocolate. Ghirardelli’s profits are attributable,
                                5    in part, to its deceptive labeling and advertising of its purported white chocolate product called
                                6    Ghirardelli Premium Baking Chips Classic White Chips.1 In reality, the Product does not contain
                                7    white chocolate, though through an intentionally deceptive labeling scheme, reasonable
                                8    consumers are given the impression the Product contains white chocolate:
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                               17          2.      Both named-Plaintiffs reasonably believed that the Product contained white
                               18    chocolate because: (1) the Product is labeled as “White,” which, as described below, has been
                               19    historically used to describe a distinct and real type of chocolate, and the understanding of both
                               20    named-Plaintiffs is that the term “White” describes a distinct and real type of chocolate; (2) the
                               21    Product label has pictures of what Ghirardelli intended to be white chocolate chips, and both
                               22    named-Plaintiffs viewed these pictures and reasonably believed that they depicted white chocolate
                               23    chips when they purchased the Product; (3) the Product label has pictures of what Ghirardelli
                               24    intended to be white chocolate chip cookies, and both named-Plaintiffs viewed and relied on the
                               25    depictions of white chocolate chip cookies when they purchased the Product; and (4) the Product
                               26    was placed among other chocolate products, which further led the named-Plaintiffs to believe that
                               27    1
                                        See screenshots from Defendant’s official website, https://www.ghirardelli.com/classic-white-
                               28     baking-chips-%2812-ct---11-oz-ea%29-61065cs (last visited April 29, 2020).
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                                1    they were purchasing white chocolate. Upon information and belief, Ghirardelli maintains control
                                2    over the placement of the Products within retail stores, including the stores where the named-
                                3    Plaintiffs purchased the Products.
                                4             3.       As identified with particularity below, scores of other consumers reasonably also
                                5    believed they were purchasing white chocolate when they purchased the Product.
                                6             4.       The named-Plaintiffs and the consumers identified below are not alone in their belief.
                                7    A widespread consumer study was conducted to determine whether and to what extent Ghirardelli’s
                                8    labeling misleads consumers into believing that the Product contains white chocolate. A true and
                                9    correct copy of this study is attached to this Complaint as Exhibit A, and the contents of the Exhibit
                               10    A report are incorporated herein. A summary of the findings are as follows:
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                               11                      Based on a review of the package for Ghirardelli’s Classic White Chips, 91.88
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                               12                      percent of the respondents indicated that they believe the Product contained white
                               13                      chocolate while 8.12 percent did not think the Product contains white chocolate. A
                               14                      statistically significantly larger proportion (z-score = 11.49, p<.05) of respondents
                               15                      believe the Product contained white chocolate.
                               16            •         When planning to bake with white chocolate chips, 92.19 percent of the respondents
                               17                      said they would consider purchasing Ghirardelli’s Classic White Chips compared
                               18                      with 7.81 percent said they would not. A statistically significantly larger proportion
                               19                      (z-score = 11.54, p<.05) of respondents would purchase this Product if they were
                               20                      planning on baking with white chocolate chips.
                               21            •         With respect to the question that asked “If, after purchasing this Product, you learned
                               22                      that the Product contained no white chocolate or chocolate of any kind, would you
                               23                      be less or more satisfied with your purchase?”, 64.69 percent of the respondents
                               24                      indicated that they would be “much less satisfied” or “somewhat less satisfied” while
                               25                      35.31 percent of the respondents would be “neither less nor more satisfied,”
                               26                      “somewhat more satisfied,” or “much more satisfied.” A statistically significantly
                               27                      larger proportion (z-score = 5.04, p<.05) of respondents would be less satisfied if
                               28
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                                1                they found out that the Product contained no white chocolate or chocolate of any kind
                                2                rather than neutral or more satisfied.
                                3         •      With respect to the question that asked “If, after purchasing this product, you were
                                4                told or otherwise learned that the Product contained no white chocolate or chocolate
                                5                of any kind, would you be less or more likely to purchase the Product again?”, 65.32
                                6                percent of the respondents indicated that they would be “much less likely to purchase
                                7                again” or “somewhat less likely to purchase again” while 34.68 percent of the
                                8                respondents would be “neither less nor more likely to purchase again,” “somewhat
                                9                more likely to purchase again,” or “much more likely to purchase again.” A
                               10                statistically significantly larger proportion (z-score = 5.24, p<.05) of respondents
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                               11                would be less likely to purchase the Product again if they were told or otherwise
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                               12                learned that the product contained no white chocolate or chocolate of any kind.
                               13   The survey results demonstrate that consumers reasonably believe that the Product contains
                               14   white chocolate and that this belief is material to their decision to purchase.
                               15         5.     Upon information and belief, Ghirardelli used to sell real white chocolate baking
                               16   chips in the recent past. Ghirardelli used actual white chocolate to develop a loyal consumer base
                               17   of the Product and propel the company to the self-described #1 premium chocolate brand in the
                               18   U.S. But at some point, Ghirardelli pulled a classic “bait and switch,” covertly swapping out its
                               19   real white chocolate for fake white chocolate.
                               20         6.     The Product packaging and official website advertises the Product as “Classic White”
                               21   “Premium Baking Chips” which, together with Ghirardelli’s other advertising and business
                               22   practices, misleads reasonable consumers into thinking that the Product contains premium
                               23   ingredients, not fake white chocolate. “Premium” is defined as “of exceptional quality or amount.”2
                               24         7.      The named-Plaintiffs and reasonable consumers do not expect the Product to include
                               25   fake white chocolate made of inferior—not premium—ingredients like hydrogenated and palm oils,
                               26
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                                        Premium, MERRIAM-WEBSTER.COM, https://www.merriam-webster.com/dictionary/premium
                               28     (last visited on April 29, 2020).
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                                1    especially when manufactured and sold by Ghirardelli Chocolate Company, which is synonymous
                                2    with chocolate.
                                3             8.       Ghirardelli does not include “White” on the Product label merely to describe its fake
                                4    chocolate’s color. Indeed, neither white chocolate nor Ghirardelli’s fake white chocolate are,
                                5    objectively speaking, white in color. Ghirardelli intentionally uses the term “White” to capitalize
                                6    on consumers’ common understanding of well-established chocolate labeling. Since the 1930’s,
                                7    chocolate has been distinctly labeled based on the chocolate’s physical makeup: (1) milk chocolate;
                                8    (2) dark chocolate; (3) semisweet chocolate; and (4) white chocolate. White chocolate is
                                9    distinguished from these other chocolates in that it contains much higher percentages of cacao
                               10    butter and smaller percentages of cocoa powder, which gives it its lighter, yellowish color (which,
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                               11    in 1930, was named “white” chocolate by its creator, Nestle). Not only does white chocolate contain
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                               12    cacao (i.e., chocolate) as a matter of fact, the Food and Drug Administration has set strict guidelines
                               13    on the labeling of chocolate based on their differences in cacao/cocoa percentages. Ghirardelli
                               14    intentionally used the “White” labeling to capitalize on consumers’ understanding of these well-
                               15    established chocolate descriptors.
                               16             9.       Not only did Ghirardelli create a cheaper product that contained no chocolate, but it
                               17    then deceptively passed it off as the real thing by placing its fake white chocolate Product among
                               18    real chocolate products, including the ones it manufactures and sells.
                               19                                            WHAT IS CHOCOLATE
                               20             10.      Chocolate is derived from Theobroma cacao, also known as the cacao tree or cocoa
                               21    tree. The cacao/cocoa tree, native to central Mexico, grows upwards to 30 feet. It produces a pod-
                               22    like fruit which, when matured, contains about 40 to 50 beans.
                               23             11.      All forms of chocolate are derived from cacao beans and only cacao beans. To
                               24    create chocolate, the cacao beans are separated from the pod and the pulp within the pod. The
                               25    beans then go through a process of fermentation, drying and roasting. The roasted beans are then
                               26    crushed allowing the removal their outer hulls. What remains – the nibs – are ground together to
                               27    form a paste-like chocolate liquor. This chocolate liquor is the starting point of all chocolate
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                                1    products. It is mixed with other ingredients, including sugar, milk, additional cacao fat or butter
                                2    (cacao bean contain cacao fat/butter), and various spices, which when blended together with
                                3    emulsifiers, create the final chocolate product consumers purchase.
                                4             12.      For nearly a century, the type of chocolate consumers purchase has had uniform,
                                5    commonly-understood names or designations:
                                6                      a.       “Chocolate liquor” is 100% cacao/cocoa, containing no added ingredients,
                                7                      the raw result from processing the cacao beans, as described;
                                8                      b.       “Milk chocolate” combines chocolate liquor (including cocoa solids and
                                9                      cacao butter) with sugar, milk and an emulsifier (soy lecithin). Under today’s Food
                               10                      and Drug Administration mandates, “milk chocolate” must contain at least 10%
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                               11                      chocolate liquor and 12% milk. 21 C.F.R. § 163.111(a)(2);
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                               12                      c.       “Dark chocolate” combines chocolate liquor and sugar. It is darker than
                               13                      milk chocolate due to the absence of milk. To be properly labeled as “dark
                               14                      chocolate,” it must contain at least 15% chocolate liquor. 21 C.F.R. §
                               15                      163.123(a)(2)3;
                               16                      d.       “Semisweet chocolate” and “bittersweet chocolate” must contain at least
                               17                      35% chocolate liquor. 21 C.F.R. § 163.123(a)(3); and
                               18                      e.       “White chocolate” must contain at least 20% cacao fat and at least 3.5% of
                               19                      milkfat under the FDA. 21 C.F.R. § 163.124.
                               20                                   HISTORY OF CHOCOLATE PRODUCTION
                               21             13.      Archeological evidence demonstrates that Mesoamericans were processing and
                               22    consuming cacao/cocoa since 1400 BC. Cacao/cocoa includes, among other things,
                               23    phenylethylamine, a chemical which, when ingested, triggers pleasure enhancing endorphins in
                               24    the brain. Early Mesoamericans also learned that cocoa could be fermented into an intoxicating
                               25    alcohol. Cocoa became so highly prized that cocoa beans became the currency of the Aztecs
                               26    when they ruled central Mexico.
                               27
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                               28        Premium dark chocolate often contains a much higher percentage of chocolate liquor.
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                                1             14.      The Spanish discovered the intrinsic properties of cocoa and introduced it to Europe
                                2    in the 1500s. The Spanish processed cocoa with cane sugar, resulting in a product closely
                                3    resembling the chocolate that is eaten today. Chocolate trade quickly spread throughout Europe
                                4    and, later, the US.
                                5             15.      Chocolate’s popularity made it a commodity. The industrial revolution allowed
                                6    companies like Cadbury, Nestle and Hershey to mass-produce chocolate products. Mass-
                                7    production resulted in lower prices, meaning greater percentages of the population began
                                8    enjoying chocolate products.
                                9             16.      Today, chocolate is a $40B global industry, and the US controls $13B. On average,
                               10    each American consumes one pound of chocolate per year.
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                               11             17.      There is evidence demonstrating the positive, physical effects of chocolate on
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                               12    humans, which is why the product has been sought after for thousands of years. Chemicals in
                               13    chocolate have been shown to trigger euphoria, the same endorphins that trigger the “in love”
                               14    feeling in humans, which is why, not surprisingly, chocolate is a favorite gift on Valentine’s Day.
                               15    Studies have been conducted comparing chocolate consumption with sex. Among women,
                               16    approximately 50% chose eating chocolate to having sex. In surveys measuring flavors, chocolate
                               17    consistently remains the favorite. It not only tastes wonderful, but chocolate contains healthy
                               18    antioxidants. Chocolate’s ability to increase alertness and energy is well-documented, which is
                               19    why chocolate has been standard issue to US servicemen since George Washington. The effects
                               20    of chocolate are so well-known, it has been an integral part of the cultural psyche since the
                               21    Aztecs. Even modern examples, like the 1971 film Willy Wonka & the Chocolate Factory and the
                               22    2000 film Chocolat, reference chocolate’s impact on the culture. Diners would be hard-pressed to
                               23    review a dessert menu that did not contain at least one chocolate dessert.
                               24             18.      Chocolate is perceived by reasonable consumers to be a unique, irreplaceable
                               25    product. The Plaintiffs in this suit, the respective class, and reasonable consumers as a whole do
                               26    not consider chocolate to be some pedestrian ingredient in the baking aisle of the grocery market.
                               27    When baking, flour, sugar, baking powder, butter, etc., are all important, but when consumers
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                                1    bake with chocolate, chocolate is the central ingredient; i.e., “chocolate cake,” “chocolate
                                2    soufflé,” “chocolate chip cookies,” etc. The Plaintiffs , and the prospective class they represent,
                                3    and reasonable consumers as a whole thought they were purchasing real chocolate, not a cheap
                                4    knock-off pretending to be chocolate.
                                5                               WHITE CHOCOLATE IS CHOCOLATE
                                6           19.    Consistent with the industry’s classification of chocolates, supra, Plaintiffs, the
                                7    prospective class members, and consumers as a whole understand that “white chocolate” contains
                                8    chocolate derived from cocoa or cacao. White chocolate was introduced by Nestle in the 1930s.
                                9           20.    The Food and Drug Administration (“FDA”) has issued regulations defining “white
                               10    chocolate,” and those regulations have been adopted by the State of California as part of the
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                               11    Sherman Food, Drug, and Cosmetic Law, California Health and Safety Code § 109875, et seq.
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                               12    Specifically, the FDA defines white chocolate as follows:
                               13          (1) White chocolate is the solid or semi plastic food prepared by intimately mixing and
                                           grinding cacao fat with one or more of the optional dairy ingredients specified in
                               14          paragraph (b)(2) of this section and one or more optional nutritive carbohydrate
                                           sweeteners and may contain one or more of the other optional ingredients specified in
                               15          paragraph (b) of this section. White chocolate shall be free of coloring material. (2)
                                           White chocolate contains not less than 20 percent by weight of cacao fat…The finished
                               16          white chocolate contains not less than 3 .5 percent by weight of milkfat...
                               17    Title 21 Code of Federal Regulations Section 163.124.
                               18           21.    One of the reasons the FDA established the foregoing standard of identity for white
                               19    chocolate was due in part to “[r]educing economic deception and promoting honesty and fair
                               20    dealing in the interest of consumers.”4
                               21                 GHIRARDELLI MANUFACTURERS AND SELLS CHOCOLATE
                               22           22.    Ghirardelli is synonymous with “chocolate.” Ghirardelli was incorporated in 1852
                               23    and is the third-oldest chocolate company in the United States. According to its website, Ghirardelli
                               24    is one of the few chocolate companies in the United States that controls every aspect of its chocolate
                               25    manufacturing process in order to produce the highest quality chocolate products. Ghirardelli is a
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                               27       See, White Chocolate; Establishment of a Standard of Identity (October 4, 2002), Federal
                                      Register: The Daily Journal of the United States Government,
                               28     https://www.federalregister.gov/d/02-25252/p-7 (last visited April 29, 2020).
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                                1    multi-billion-dollar company5 and a highly visible competitor in the global chocolate market. In
                                2    2018, Ghirardelli generated $4.4 billion dollars worldwide and $1.7 billion in North America.
                                3    According to its 2018 Annual Shareholder Report, Ghirardelli is the number one premium brand
                                4    of chocolate in the United States.
                                5             23.      Ghirardelli manufactures other chocolate varieties of the Product, which it sells
                                6    alongside its fake white chocolate Product at retail outlets throughout California and the United
                                7    States. Ghirardelli labels these other products by type of chocolate: “milk chocolate,” “bittersweet
                                8    chocolate,” and “semi-sweet.” Therefore, the “white” in “white baking chips” deceives reasonable
                                9    consumers into thinking it represents the type of chocolate in the Product, white chocolate. True
                               10    and correct representations of some of Defendant’s other versions of the Product within the same
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                               11    line of products6 are depicted below.
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                                       See Ghirardelli’s Annual Report to Stockholders and Other Reports, https://www.lindt-
                               25    spruengli.com/fileadmin/user_upload/corporate/WEB_GB18_Gesamt_en_low.pdf (last visited
                                     April 29, 2020).
                               26    6
                                       There are six versions of the Product within the same line of products, including the Product:
                               27    Milk Chocolate, Bittersweet Chocolate, Semi-Sweet Chocolate, Classic White, Grand Chips Semi-
                                     Sweet Chocolate, and Semi-Sweet Chocolate Mini.
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                               17             24.      The named-Plaintiffs and consumers reasonably and detrimentally rely on
                               18    Ghirardelli’s representations of the Products as real chocolate, not fake chocolate, in making their
                               19    purchase decisions.
                               20             25.      Ghirardelli is aware that reasonable consumers are misled into believing the Product
                               21    contains real white chocolate but refuses to make any labeling and advertising changes, such as
                               22    labeling its Product “Vanilla Flavored Chips,” or “Vanilla Chips,” or “Does not contain chocolate,”
                               23    or “not white chocolate,” or the like, to dispel the consumer deception.
                               24             26.      In fact, consumers have complained about the Product on numerous consumer
                               25    protection and retailer websites, such as Amazon.com, stating, “Because of Ghirardelli’s
                               26    reputation, I didn’t look at the ingredient list when I purchased the white chips; this was a big
                               27    mistake. There is no cocoa butter in them, and I was disgusted by the end product. I wasted over
                               28
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                                1    $50 and hours of my time using this in a product that I was giving as a holiday gift. Needless to
                                2    say, I threw the end product away […].” True and correct screenshots of the consumer reviews of
                                3    the Product on the third party website Amazon.com are depicted below in Figure 1.
                                4             27.      Another consumer complained that the Product is “Not white chocolate. ... [T]hey
                                5    are made from Palm Kernel oil, not cocoa butter. They are not white chocolate and they do not taste
                                6    like white chocolate.” See Figure 1, infra.
                                7             28.      Yet another consumer complained, “They don’t show you the ingredient list because
                                8    there is no chocolate in them.” See Figure 1, infra.
                                9             29.      The Product misrepresents it contains white chocolate, as a consumer complained,
                               10    “There is no cocoa butter in this product.” See Figure 1, infra.
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                               11             Figure 1-3: Screenshots below taken from Amazon.com revealing that consumers are
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                               12    misled by Ghirardelli’s labeling and advertising of the Product to think that the Product contains
                               13    white chocolate when it does not.
                               14             Figure 1.
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                               20             Figure 2.
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                               27             Figure 3.
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                                8             30.      Most consumers purchase the Product to bake with, as Plaintiffs did. Defendant
                                9    advertises on its official website, as well on the Product packaging, baking recipes that require the
                               10    use of the Product. However, because the Product does not contain white chocolate, it does not melt
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                               11    like chocolate. Yet, the Product’s deceptive labeling and advertising leads reasonable consumers
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                               12    to believe that the Product is white chocolate and should therefore melt during baking. Thus,
                               13    consumers are surprised when the Product does not melt. True and correct representations of the
                               14    consumer reviews of the Product not melting as expected are depicted in Figures 4-5 below.
                               15             31.      In fact, Defendant advertises on its Product packaging that the Product will “[e]levate
                               16    your baking from great to extraordinary with our top quality, premium ingredients to create a rich,
                               17    smooth flavor and silky texture. [B]ake to impress.” There is nothing “premium” about fake white
                               18    chocolate and consumers cannot “bake to impress” because the Product does not contain, let alone
                               19    taste or melt like, white chocolate.
                               20             32.      For example, one consumer complained, “…I cooked the white chocolate in a double
                               21    boiler for 20 minutes, without any result, the chips turned into a mush the consistency of cream
                               22    cheese, but wouldn’t melt further. I have now learned that these chips aren’t chocolate at all, it was
                               23    such a waste of money!” See Figure 4, infra.
                               24             33.      Another consumer complained, “…They don’t melt worth a darn, so don’t try using
                               25    them for dipping. I’m very unsatisfied!” See Figure 5, infra.
                               26    ///
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                                1             34.      Figure 4-5: Screenshots below taken from Amazon.com revealing that consumers
                                2    are misled by Ghirardelli’s labeling and advertising of the Product as containing white chocolate
                                3    and are therefore surprised when the Product does not melt as expected from white chocolate.
                                4             Figure 4.
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                               14             Figure 5.
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                               22             35.      The Product is labeled “white” and advertised as “Premium Classic White,” on
                               23    Defendant’s official website, point of purchase display, and is offered for sale side-by-side with
                               24    Defendant’s milk chocolate and semi-sweet chocolate baking chips.
                               25             36.      The foregoing consumer reviews, in conjunction with Plaintiff’s expert report,
                               26    demonstrate that taken as a whole, the Product’s labeling and advertising misleads reasonable
                               27    consumers into believing it contains white chocolate, not fake chocolate.
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                                1             37.      Plaintiffs seek injunctive relief and restitution against Defendant for false and
                                2    misleading advertising in violation of Business and Professions Code Section 17200, et seq.,
                                3    Business and Professions Code Section 17500, et seq., and Civil Code Section 1750, et seq.
                                4    Defendant made and continues to make these false and misleading statements in its labeling and
                                5    advertising of the Product. Compliance with remedial statutes like those underlying this lawsuit
                                6    will benefit Plaintiffs, the putative class, consumers, and the general public.
                                7             38.      The false and misleading labeling and advertising of the Product violates the
                                8    California Consumers Legal Remedies Act, particularly California Civil Code Sections 1770(a)(5),
                                9    1770(a)(7), and 1770(a)(9). As such, Defendant has committed per se violations of Business and
                               10    Professions Code Section 17200, et seq., and Business and Professions Code Section 17500.
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                               11             39.      On June 12, 2019, the putative class provided Defendant with notice of these
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                               12    violations via certified U.S. mail pursuant to Civil Code Section 1750, et seq.
                               13                                            JURISDICTION AND VENUE
                               14             40.      This Court has jurisdiction over all causes of action asserted herein pursuant to the
                               15    California Constitution, Article VI, Section 10, because this case is a cause not given by statute to
                               16    other trial courts. Plaintiffs have standing to bring this action pursuant to Business and Professions
                               17    Code Section 17200, et seq.
                               18             41.      Venue is proper in this Court because Plaintiff Cheslow purchased the Product in
                               19    Sonoma County; Defendant receives substantial compensation from sales in Sonoma County; and
                               20    Defendant made numerous misrepresentations which had a substantial effect in Sonoma County,
                               21    including, but not limited to, label, point of purchase displays, and internet advertisements.
                               22             42.      Defendant is subject to personal jurisdiction in California based upon sufficient
                               23    minimum contacts which exist between Defendants and California. Defendants are authorized to
                               24    do and doing business in California.
                               25                                                   PARTIES
                               26             43.      Plaintiff Cheslow is an individual residing in Santa Rosa, California. Plaintiff
                               27    purchased the Product in California within the last four (4) years of the filing of this Complaint.
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                                1    Specifically, Plaintiff Cheslow purchased the Product in or around December 2018 at a Target store
                                2    located at 950 Coddingtown Center in Santa Rosa, California. In making her purchase decision,
                                3    Plaintiff Cheslow relied upon the labeling and advertising of the Product, which she reasonably
                                4    believed to be “white chocolate,” not fake white chocolate. Specifically, Plaintiff Cheslow wanted
                                5    white chocolate chips to bake holiday cookies, bars and brownies, which she gives out to family,
                                6    friends and neighbors. She found the the Product in a section that was labelled “chocolate chips.”
                                7    When Plaintiff Cheslow saw the pictures of the white chocolate chips and white chocolate chip
                                8    cookies, and the “Premium” and “Classic White Chips” labeling, taken together, she believed the
                                9    product contained white chocolate. The product was also displayed amongst other Ghirardelli
                               10    chocolate products, and all of these products in packaging that looks the same. Plaintiff Cheslow
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                               11    did not spend minutes and minutes comparing the Product’s front and back label to determine
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                               12    whether it contained chocolate because she assumed it contained chocolate based on the reasons
                               13    identified above. The fact that the Product was nestled among several other products containing
                               14    the word “chocolate” did nothing to alert her that the Product did not contain chocolate. In fact, it
                               15    did just the opposite: Plaintiff Cheslow assumed the Classic White Chips contained chocolate
                               16    because she found them in the middle of several other chocolate products. Given all of this, she
                               17    assumed that she was purchasing white chocolate chips. There was nothing conspicuous about the
                               18    packaging to alert Plaintiff Cheslow that she was not purchasing white chocolate, for instance, like
                               19    the words “imitation chocolate.” Ms. Cheslow would not have purchased the Product had she
                               20    known it did not contain white chocolate.
                               21             44.      Plaintiff Prescott is an individual residing in Santa Cruz, California. Plaintiff Prescott
                               22    purchased the Product in California within the last four (4) years of the filing of this Complaint.
                               23    Specifically, Plaintiff Prescott purchased the Product in late 2018 or early 2019 at a Target store
                               24    located at 1825 41st Avenue in Capitola, California. In making his purchase decision, Plaintiff
                               25    Prescott relied upon the labeling and advertising of the Product, which he reasonably believed to
                               26    be “white chocolate,” not fake white chocolate.
                               27    ///
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                                1             45.      The labeling and advertising of the Product were prepared and approved by
                                2    Defendant and its agents and disseminated through its packaging, label, and national advertising
                                3    media, containing the misrepresentations alleged herein and designed to encourage consumers to
                                4    purchase the Product. Plaintiffs purchased the Product in reasonable and detrimental reliance upon
                                5    these “white chocolate” misrepresentations. Had Plaintiffs known the Product was not white
                                6    chocolate, they would not have purchased the Product. Plaintiffs would purchase the Product again
                                7    in the future if they could be sure that the Product was white chocolate or if Defendant dispelled
                                8    any confusion that the Product does not contain white chocolate in its labeling, packaging, and
                                9    advertising of the Product.
                               10             46.      Ghirardelli Chocolate Company is a corporation headquartered in California.
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                               11    Ghirardelli maintains its principal place of business at 1111 139th Avenue, San Leandro,
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                               12    California 94578. Ghirardelli offers the Products for sale at stores and retailers as well as through
                               13    the internet, throughout the nation, including the State of California. Ghirardelli, directly and
                               14    through its agents, has substantial contacts with and receives substantial benefits and income from
                               15    and through the State of California. Ghirardelli is one of the owners and distributors of the
                               16    Product and is the company that created and/or authorized the false, misleading, and deceptive
                               17    advertisements and packaging for the Product.
                               18             47.      The true names and capacities, whether individual, corporate, associate, or otherwise
                               19    of certain manufacturers, distributors, and/or their alter egos sued herein as DOES 1 through 10
                               20    inclusive are presently unknown to Plaintiffs who therefore sue these Defendants by fictitious
                               21    names. Plaintiffs will seek leave of this Court to amend the Complaint to show their true names
                               22    and capacities when the same have been ascertained. Plaintiffs are informed and believe and based
                               23    thereon allege that DOES 1 through 10 were authorized to do and did business in Sonoma County.
                               24    Plaintiffs are further informed and believe and based thereon allege that DOES 1 through 10 were
                               25    and/or are, in some manner or way, responsible for and liable to Plaintiffs for the unfair business
                               26    practices set forth herein.
                               27    ///
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                                1             48.      Plaintiffs are informed and believe and based thereon allege that at all times relevant
                                2    herein each of the Defendants was the agent, servant, employee, subsidiary, affiliate, partner,
                                3    assignee, successor-in-interest, alter ego, or other representative of each of the remaining
                                4    Defendants and was acting in such capacity in doing the things herein complained of and alleged.
                                5             49.      In committing the wrongful acts alleged herein, Defendants planned and participated
                                6    in and furthered a common scheme by means of false, misleading, deceptive, and fraudulent
                                7    representations to induce members of the public to purchase the Product. Defendants participated
                                8    in the making of such representations in that each did disseminate or cause to be disseminated said
                                9    misrepresentations.
                               10             50.      Defendants, upon becoming involved with the manufacture, distribution, advertising,
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                               11    labeling, marketing, and sale of the Product, knew or should have known that the claims about the
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                               12    Product and, in particular, the claims suggesting that the Product is white chocolate when it is not.
                               13    Defendants affirmatively misrepresented the nature and characteristics of the Product in order to
                               14    convince the public to purchase and consume the Product, resulting in, upon information and belief,
                               15    profits of millions of dollars or more to Defendants, all to the detriment of the consuming public.
                               16    Thus, in addition to the wrongful conduct herein alleged as giving rise to primary liability,
                               17    Defendants further aided and abetted and knowingly assisted each other in breach of their respective
                               18    duties and obligations as herein alleged.
                               19                            FACTS AND DEFENDANTS’ COURSE OF CONDUCT
                               20             51.      Defendant’s labeling, advertising, marketing, and packaging of the Product as
                               21    containing white chocolate is false, misleading, and deceptive because the Product does not contain
                               22    any white chocolate. Accordingly, reasonable consumers are consistently misled into paying for
                               23    the Product without knowing that it is devoid of white chocolate.
                               24             52.      The Food and Drug Administration (“FDA”) has issued regulations defining “white
                               25    chocolate,” and those regulations have been adopted by the State of California as part of the
                               26    Sherman Food, Drug, and Cosmetic Law, California Health and Safety Code § 109875, et seq.
                               27    Specifically, the FDA defines white chocolate as follows:
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                                           (1) White chocolate is the solid or semi plastic food prepared by intimately mixing and
                                1          grinding cacao fat with one or more of the optional dairy ingredients specified in
                                           paragraph (b)(2) of this section and one or more optional nutritive carbohydrate
                                2          sweeteners and may contain one or more of the other optional ingredients specified in
                                           paragraph (b) of this section. White chocolate shall be free of coloring material. (2)
                                3          White chocolate contains not less than 20 percent by weight of cacao fat…The finished
                                           white chocolate contains not less than 3 .5 percent by weight of milkfat...
                                4
                                     Title 21 Code of Federal Regulations Section 163.124.
                                5
                                               53.   One of the reasons the FDA established the foregoing standard of identity for white
                                6
                                     chocolate was due in part to “[r]educing economic deception and promoting honesty and fair
                                7
                                     dealing in the interest of consumers.”7 Yet, Defendant has done the opposite here by misleading
                                8
                                     unsuspecting consumers about the purported presence of white chocolate in its Product.
                                9
                                               54.   Plaintiffs are not alleging non-compliance with the FDCA or the FDA’s standard of
                               10
                                     identity for white chocolate; Plaintiffs are alleging that Defendant misrepresents the Product as
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                                     white chocolate when it is not.
                               12
                                               55.   The Product does not contain any white chocolate, cocoa butter, cocoa fat, or other
                               13
                                     cocoa derivative as required by the FDA. Instead, the Product contains: Sugar, Palm Kernel Oil,
                               14
                                     Whole Milk Powder, Nonfat Dry Milk, Palm Oil, Soy Lecithin, and Vanilla Extract. Despite the
                               15
                                     foregoing, the Product is advertised as if it contains white chocolate.
                               16
                                               56.   Plaintiffs and reasonable consumers reasonably believed the Product contains white
                               17
                                     chocolate based on the labeling, advertising, and marketing of the Product. Also, there are other
                               18
                                     versions of the Product within the same line of products, such as milk chocolate, semi-sweet
                               19
                                     chocolate, and bittersweet chocolate, which are displayed for sale directly adjacent to the Product,
                               20
                                     thereby further adding to the deception that the Product is white chocolate.
                               21
                                               57.   The Product is marketed and sold at retail stores throughout California and the United
                               22
                                     States.
                               23
                                               58.   In addition to the packaging and labeling of the Products, Defendant’s official
                               24
                                     website (https://www.ghirardelli.com/) misleads consumers to believe that the Product contains
                               25
                                     white chocolate.
                               26
                                     7
                               27       See, White Chocolate; Establishment of a Standard of Identity (October 4, 2002), Federal
                                      Register: The Daily Journal of the United States Government,
                               28     https://www.federalregister.gov/d/02-25252/p-7 (last visited April 29, 2020).
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                                1             59.      After receiving statutory notice of these claims on June 12, 2019, Ghirardelli
                                2    implemented advertising changes on its official website in regards to the Product. The screenshots
                                3    that appear herein were included in said June 12 letter and show what the website looked like prior
                                4    to Defendant receiving statutory notice and making subsequent changes.
                                5             Figure 3: Screenshot below of Defendant’s official website taken June 12, 2019 depicts the
                                6    word “chocolate” on the Product packaging (circled in red).
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                                1             Figure 4: Screenshot below of Defendant’s official website taken September 5, 2019 reveals
                                2    that the word “chocolate” on the Product packaging has been removed (circled in red).
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                               15             60.      When purchasing the Product, Plaintiffs relied upon the label “white” and “Premium
                               16    White” and “Classic White” as well as the overall labeling, advertising, and marketing of the
                               17    Product as white chocolate, and was led to reasonably believe based on the foregoing, that the
                               18    Product contains white chocolate. Had Plaintiffs known the Product did not contain white
                               19    chocolate, then they would not have purchased it. However, if the Product were to actually contain
                               20    white chocolate or Defendant would dispel the deception that the Product does not contain white
                               21    chocolate in its labeling, packaging, and advertising, Plaintiffs would repurchase it in the future.
                               22             61.      Upon information and belief, during the course of its false, misleading, and deceptive
                               23    labeling and advertising campaign, Defendant has sold millions of units or more of the Product
                               24    based upon Defendant’s false promises. Plaintiff and the Class have suffered injury in fact and have
                               25    lost money as a result of Defendant’s false representations.
                               26    ///
                               27    ///
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                                1                                            CLASS ACTION ALLEGATIONS
                                2             62.      Plaintiff brings this action on her own behalf and on behalf of all other persons
                                3    similarly situated. The Class which Plaintiff seeks to represent comprises:
                                4                      “All persons who purchased the Product in the United States or,
                                5                      alternatively, in California, for personal consumption and not for
                                6                      resale during the time period of four years prior to the filing of the
                                7                      complaint through the present.”
                                8    Said definition may be further defined or amended by additional pleadings, evidentiary hearings, a
                                9    class certification hearing, and orders of this Court.
                               10             63.      The Class is comprised of millions of consumers throughout United States and/or
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                               11    State of California. The Class is so numerous that joinder of all members is impracticable and the
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                               12    disposition of their claims in a class action will benefit the parties and the Court.
                               13             64.      There is a well-defined community of interest in the questions of law and fact
                               14    involved affecting the parties to be represented in that the Class was exposed to the same common
                               15    and uniform false and misleading advertising and omissions. The questions of law and fact common
                               16    to the Class predominate over questions which may affect individual Class members. Common
                               17    questions of law and fact include, but are not limited to, the following:
                               18                   a. Whether Defendant’s conduct is an unlawful business act or practice within the
                               19                      meaning of Business and Professions Code section 17200, et seq.;
                               20                   b. Whether Defendant’s conduct is a fraudulent business act or practice within the
                               21                      meaning of Business and Professions Code section 17200, et seq.;
                               22                   c. Whether Defendant’s conduct is an unfair business act or practice within the meaning
                               23                      of Business and Professions Code section 17200, et seq.;
                               24                   d. Whether Defendant’s advertising is untrue or misleading within the meaning of
                               25                      Business and Professions Code section 17500, et seq.;
                               26                   e. Whether Defendant made false and misleading representations in its advertising and
                               27                      labeling of the Product;
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                                1                   f. Whether Defendant knew or should have known that the representations were false;
                                2                      and,
                                3                   g. Whether Defendant represented that the Products have characteristics, benefits,
                                4                      uses, or quantities which they do not have.
                                5             65.      Plaintiff’s claims are typical of the claims of the proposed Class, as the
                                6    representations and omissions made by Defendant are uniform and consistent and are contained in
                                7    advertisements and on packaging that was seen and relied on by Plaintiffs and members of the
                                8    Class.
                                9             66.      Plaintiffs will fairly and adequately represent and protect the interests of the proposed
                               10    Class. Plaintiffs have retained competent and experienced counsel in class action and other
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                               11    complex litigation.
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                               12             67.      Plaintiffs and the Class have suffered injury in fact and lost money as a result of
                               13    Defendant’s false, deceptive, and misleading representations.
                               14             68.      Plaintiffs would not have purchased the Product but for the representations by
                               15    Defendant about the Product.
                               16             69.      The Class is identifiable and readily ascertainable. Notice can be provided to such
                               17    purchasers using techniques and a form of notice similar to those customarily used in class actions,
                               18    and by internet publication, radio, newspapers, and magazines.
                               19             70.      A class action is superior to other available methods for fair and efficient adjudication
                               20    of this controversy. The expense and burden of individual litigation would make it impracticable
                               21    or impossible for proposed members of the Class to prosecute their claims individually.
                               22             71.      The trial and the litigation of Plaintiffs’ claims are manageable.
                               23             72.      Defendant has acted on grounds generally applicable to the entire Class, thereby
                               24    making final injunctive relief and/or corresponding declaratory relief appropriate with respect to
                               25    the Class as a whole. The prosecution of separate actions by individual Class members would create
                               26    the risk of inconsistent or varying adjudications with respect to individual member of the Class that
                               27    would establish incompatible standards of conduct for Defendant.
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                                1             73.      Absent a class action, Defendant will likely retain the benefits of its wrongdoing.
                                2    Because of the small size of the individual Class members’ claims, few, if any, Class members
                                3    could afford to seek legal redress for the wrongs complained of herein. Absent a representative
                                4    action, the Class members will continue to suffer losses and Defendant will be allowed to continue
                                5    these violations of law and to retain the proceeds of its ill-gotten gains.
                                6                                              FIRST CAUSE OF ACTION:
                                7                     VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                                8                               BUSINESS & PROFESSIONS CODE § 17200, et seq.
                                9                                            (By Plaintiff against all Defendants)
                               10             74.      Plaintiffs repeat and re-allege the allegations set forth in the preceding paragraphs
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                               11    and incorporate the same as if set forth herein at length.
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                               12             75.      This cause of action is brought pursuant to Business and Professions Code Section
                               13    17200, et seq., on behalf of Plaintiff and a Class consisting of all persons residing in the United
                               14    States and/or State of California who purchased the Product for personal use and not for resale
                               15    during the time period of four years prior to the filing of the complaint through the present.
                               16             76.      Defendant in its advertising and packaging of the Product make false and misleading
                               17    statements regarding the quality and characteristics of the Product, particularly that it contains white
                               18    chocolate when it does not. Such claims appear on the label and packaging of the Product which
                               19    are sold at retail stores nationwide, point-of-purchase displays, as well as Ghirardelli’s official
                               20    website, and other retailers’ advertisements which have adopted Ghirardelli’s advertisements.
                               21             77.      Defendant’s labeling and advertising of the Product led and continues to lead
                               22    reasonable consumers, including Plaintiffs, to believe that the Product contains white chocolate.
                               23             78.      Defendant does not have any reasonable basis for labeling and advertising the Product
                               24    the claims about the Product as if it contains white chocolate when it does not.
                               25             79.      Defendant knows that the white chocolate representations it made and continues to
                               26    make about the Product are false and misleading and deceives reasonable consumers. See Paragraph
                               27    31, supra.
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                                1             80.      As alleged in the preceding paragraphs, the misrepresentations by Defendant of the
                                2    material facts detailed above constitute an unfair, unlawful, and fraudulent business practice within
                                3    the meaning of California Business and Professions Code Section 17200.
                                4             81.      In addition, Defendant’s use of various forms of advertising media to advertise, call
                                5    attention to, or give publicity to the sale of goods or merchandise which are not as represented in
                                6    any manner constitutes unfair competition, unfair, deceptive, untrue or misleading advertising, and
                                7    an unlawful business practice within the meaning of Business and Professions Code Sections 17200
                                8    and 17531, which advertisements have deceived and are likely to deceive the consuming public, in
                                9    violation of Business and Professions Code Section 17200.
                               10             82.      There were reasonably available alternatives to further Defendant’s legitimate
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                               11    business interests, other than the conduct described herein.
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                               12             83.      All of the conduct alleged herein occurs and continues to occur in Defendant’s
                               13    business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct
                               14    repeated on thousands of occasions daily.
                               15             84.      Pursuant to Business and Professions Code Sections 17203 and 17535, Plaintiffs and
                               16    the members of the Class seek an order of this Court enjoining Defendant from continuing to
                               17    engage, use, or employ its practice of labeling and advertising the sale and use of the Product and/or
                               18    to disclose such misrepresentations. Plaintiffs also seek restitution.
                               19             85.      Plaintiffs and the Class have suffered injury in fact and have lost money or property
                               20    as a result of and in reliance upon Defendant’s false representations. Plaintiffs would not have
                               21    purchased the Product but for the representations by Defendant about the Product as containing
                               22    white chocolate, or had they would have purchased the Product for less money than they actually
                               23    spent had the Product not been impliedly advertised as containing white chocolate or if the Product
                               24    conspicuously disclosed the fact that it was “imitation chocolate,” or any other substantially similar
                               25    words that clearly and conspicuously disclose to consumers that they are not purchasing the real
                               26    thing.
                               27    ///
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                                1             86.      Plaintiffs would purchase the Product as labeled in the future if it actually contained
                                2    white chocolate. Alternatively, Plaintiffs might purchase the Product in the future if the labeling
                                3    made clear that the Product did not contain white chocolate, but they would only do so if the Product
                                4    was sold for less money than presently priced at. Regardless, by relabeling the Product so that it
                                5    fairly disclosed the fact that it did not contain white chocolate, therefore dispelling consumer
                                6    confusion, consumers will be provided with a fair opportunity to make a purchasing decision based
                                7    on the actual contents of the Product.
                                8                                             SECOND CAUSE OF ACTION:
                                9           FALSE AND MISLEADING ADVERTISING IN VIOLATION OF BUSINESS &
                               10                                        PROFESSIONS CODE § 17500, et seq.
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                               11                                            (By Plaintiff against all Defendants)
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                               12             87.      Plaintiffs repeat and re-allege the allegations set forth in the preceding paragraphs
                               13    and incorporates the same as if set forth herein at length.
                               14             88.      This cause of action is brought pursuant to Business and Professions Code Section
                               15    17500, et seq., on behalf of Plaintiffs and the Class consisting of all persons residing in the United
                               16    States and/or State of California who purchased the Product for personal consumption and not for
                               17    resale during the time period of four years prior to the filing of the complaint through the present.
                               18             89.      Defendant in its advertising and packaging of the Product make false and misleading
                               19    statements regarding the quality and characteristics of the Product, particularly that it contains white
                               20    chocolate. Such representations appear on the Product packaging and official website.
                               21             90.      Defendant’s claims about the Product lead reasonable consumers to believe that the
                               22    Product contains white chocolate.
                               23             91.      Defendant does not have any reasonable basis for its white chocolate representations.
                               24             92.      Defendant knew or should have known that its white chocolate representations are
                               25    false and misleading. See Paragraph 31, supra.
                               26             93.      Plaintiffs would not have purchased the Product but for the representations by
                               27    Defendant that the Product is white chocolate.
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                                1             94.      Plaintiffs and the Class have suffered injury in fact and lost money as a result of and
                                2    in reasonable and detrimental reliance upon Defendant’s false representations.
                                3             95.      As alleged in the preceding paragraphs, the misrepresentations by Defendant of the
                                4    material facts detailed above constitute an unfair, unlawful, and fraudulent business practice within
                                5    the meaning of California Business and Professions Code Section 17500.
                                6             96.      In addition, Defendant’s use of various forms of advertising media to advertise, call
                                7    attention to, or give publicity to the sale of goods or merchandise which are not as represented in
                                8    any manner constitutes unfair competition, unfair, deceptive, untrue or misleading advertising, and
                                9    an unlawful business practice within the meaning of Business and Professions Code sections 17200
                               10    and 17531, which advertisements have deceived and are likely to deceive the consuming public, in
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                               11    violation of Business and Professions Code Section 17500.
  Los Angeles, CA 90069




                               12             97.      Pursuant to Business and Professions Code Sections 17203 and 17535, Plaintiffs and
                               13    the members of the Class seek a court order enjoining Defendant from continuing to deceptively
                               14    advertise and label the Product as if it is white chocolate. Plaintiffs also seek restitution.
                               15                                              THIRD CAUSE OF ACTION:
                               16              VIOLATION OF CALIFORNIA CONSUMERS LEGAL REMEDIES ACT,
                               17                                     CALIFORNIA CIVIL CODE § 1750, et seq.
                               18                                            (By Plaintiff against all Defendants)
                               19             98.      Plaintiffs repeat and re-alleges the allegations set forth in the preceding paragraphs
                               20    and incorporates the same as if set forth herein at length.
                               21             99.      This cause of action is brought pursuant to Civil Code Section 1750, et seq., the
                               22    Consumers Legal Remedies Act (“CLRA”), on behalf of Plaintiff and a Class consisting of all
                               23    persons residing in the United States and/or State of California who purchased the Product for
                               24    personal consumption and not for resale during the time period of four years prior to the filing of
                               25    the complaint through the present.
                               26             100.     The Class consists of millions of persons, the joinder of whom is impracticable.
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                                1             101.     There are questions of law and fact common to the class, which questions are
                                2    substantially similar and predominate over questions affecting the individual members, as set forth
                                3    in Paragraph 3, supra.
                                4             102.     The white chocolate misrepresentations described herein were intended to increase
                                5    sales to the consuming public, and violated and continue to violate Section 1770(a)(5) of the CLRA
                                6    by representing that the Product has characteristics and benefits which it does not have.
                                7             103.     Defendants fraudulently deceived Plaintiffs and the Class by representing that the
                                8    Product has certain characteristics, benefits, and qualities which it does not have. In doing so,
                                9    Defendant intentionally misrepresented and concealed material facts from Plaintiffs and the Class,
                               10    specifically by claiming and advertising that the Product contains white chocolate when in fact it
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                               11    contains a cheaper, unhealthier blend of sugars and hydrogenated oils. Said misrepresentations and
  Los Angeles, CA 90069




                               12    concealment were done with the intention of deceiving Plaintiff and the Class, and depriving them
                               13    of their legal rights and money.
                               14             104.     Defendant’s claims about the Product led and continues to lead consumers like
                               15    Plaintiff to reasonably believe that the Product contains white chocolate.
                               16             105.     Defendant knew or should have known that advertising and labeling the Product as
                               17    “Premium White” and “Class White,” among other deceptive practices, would confuse reasonable
                               18    consumers into thinking the Product actually contains white chocolate. See Figure 1, Figure 2, and
                               19    Paragraph 31, supra.
                               20             106.     Plaintiffs and the Class have suffered injury in fact as a result of and in reliance upon
                               21    Defendant’s false representations.
                               22             107.     Plaintiffs would not have purchased the Product but for the misrepresentations by
                               23    Defendant about the Product containing white chocolate.
                               24             108.     Pursuant to Section 1780(a) of the CLRA, Plaintiffs seek injunctive relief in the form
                               25    of an order enjoining the above-described wrongful acts and practices of Defendant, including, but
                               26    not limited to, an order enjoining Defendant from continuing to make the representations set forth
                               27    above that the Product contains white chocolate. Plaintiffs also seek restitution.
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                                1             109.     Plaintiffs shall suffer irreparable harm if such an order is not granted.
                                2                                             PRAYER FOR RELIEF
                                3              WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, pray
                                4    for judgment and relief on all Causes of Action as follows:
                                5                      A. An order enjoining Ghirardelli from labeling and advertising the Product as if it
                                6                          is white chocolate;
                                7                      B. Restitution; and
                                8                      C. Reasonable attorneys’ fees and costs.
                                9
                               10                                            JURY TRIAL DEMANDED
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                               11            Plaintiffs demand a jury trial on all triable issues.
  Los Angeles, CA 90069




                               12
                               13
                                    DATED: April 29, 2020                                       CLARKSON LAW FIRM, P.C.
                               14
                               15
                                                                                                /s/ Ryan J. Clarkson
                               16                                                               Ryan J. Clarkson, Esq.
                                                                                                Shireen M. Clarkson, Esq.
                               17                                                               Matthew T. Theriault, Esq.
                                                                                                Bahar Sodaify, Esq.
                               18
                                                                                                Attorneys for Plaintiffs
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                                BAKING GOODS CONSUMER SURVEY




                                                             Prepared by



                                                 Forrest V. Morgeson III, PhD

                                                    G. Tomas M. Hult, PhD
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            Introduction



            We were retained by Clarkson Law Firm on behalf of several consumers to evaluate consumer

            purchase decisions based on four popular white baking chip products (Ghirardelli’s Classic

            White Chips, Nestle Toll House’s Premier White Morsels, Target’s Market Pantry White Baking

            Morsels, and Walmart’s Great Value White Baking Chips). Appendix 1 has brief biographies of

            the researchers. This abbreviated report is a synopsis of our analyses and findings. The abridged

            report does not represent all of our opinions. A more detailed report may follow if we are asked

            to provide one.



            Methodology



            The findings in this report are based on a scientifically-based consumer survey that was

            undertaken on January 31, 2020 (Appendix 2 includes the Baking Goods Consumer Survey

            Instrument). Data were collected via an online survey using the Qualtrics survey software. The

            sampling frame of 1,278 consumers was drawn from a broad cross-section of consumers in the

            United States from a consumer panel administered by Qualtrics. These 1,278 people represent a

            set of randomly selected consumers from 1,208 different zip codes in the country (from among

            41,702 active zip codes). The respondents were promised anonymity and confidentiality. The

            results are only used in the aggregate for each white baking chip product included in the study.

            Each respondent answered a set of four screener questions to ensure quality and applicability of

            responses.




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            The screener questions were:



                •   Would you be willing to participate in the study?

                •   Are you a professional chef, cook, baker, or kitchen worker?

                •   In the last three years, have you purchased baking chips of any kind, like you might use

                    when baking white or milk chocolate chip cookies, muffins, or cakes?

                •   What is your age?



            The answers to the screener questions had to be “yes,” “no,” “yes,” – in that order for the initial

            three screener questions – and a response of 18 for age or older “number” had to be indicated for

            a person to be included in the sample. The total sample across all four baking chip products was

            n=1,278, with approximately 25 percent of the sample allocated to each of the four products

            (n=320 for Ghirardelli’s Classic White Chips; n=321 for Nestle Toll House’s Premier White

            Morsels; n=320 for Target’s Market Pantry White Baking Morsels; and n=317 for Walmart’s

            White Baking Chip). As such, the margin of error of the survey results, presented next, relative

            to the overall population in the United States at a commonly used 95 percent confidence level, is

            3 percent for the full sample and about 5 percent for each of the four subsamples. Appendix 3

            includes sample demographics.




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            Survey Results



            The results of the Qualtrics survey are summarized in brief in this section, including basic

            statistical analyses, and then additional details are included in four Appendices:



                •   Appendix 4: Detailed Results for Ghirardelli’s Classic White Chips

                •   Appendix 5: Detailed Results for Nestle Toll House’s Premier White Morsels

                •   Appendix 6: Detailed Results for Target’s Market Pantry White Baking Morsels

                •   Appendix 7: Detailed Results for Walmart’s Great Value White Baking Chips



                Ghirardelli’s Classic White Chips



                •   Based on a review of the package for Ghirardelli’s Classic White Chips, 91.88 percent of

                    the respondents indicated that they believe the product contains white chocolate while

                    8.12 percent do not think the product contains white chocolate. A statistically

                    significantly larger proportion (z-score = 11.49, p<.05) of respondents believe the

                    product contains white chocolate.



                •   When planning to bake with white chocolate chips, 92.19 percent of the respondents said

                    they would consider purchasing Ghirardelli’s Classic White Chips compared with 7.81

                    percent said they would not. A statistically significantly larger proportion (z-score =

                    11.54, p<.05) of respondents would purchase this product if they were planning on

                    baking with white chocolate chips.


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                •   With respect to the question that asked “If, after purchasing this product, you learned that

                    the product contained no white chocolate or chocolate of any kind, would you be less or

                    more satisfied with your purchase?”, 64.69 percent of the respondents indicated that they

                    would be “much less satisfied” or “somewhat less satisfied” while 35.31 percent of the

                    respondents would be “neither less nor more satisfied,” “somewhat more satisfied,” or

                    “much more satisfied.” A statistically significantly larger proportion (z-score = 5.04,

                    p<.05) of respondents would be less satisfied if they found out that the product contained

                    no white chocolate or chocolate of any kind rather than neutral or more satisfied.



                •   With respect to the question that asked “If, after purchasing this product, you were told or

                    otherwise learned that the product contained no white chocolate or chocolate of any kind,

                    would you be less or more likely to purchase the product again?”, 65.32 percent of the

                    respondents indicated that they would be “much less likely to purchase again” or

                    “somewhat less likely to purchase again” while 34.68 percent of the respondents would

                    be “neither less nor more likely to purchase again,” “somewhat more likely to purchase

                    again,” or “much more likely to purchase again.” A statistically significantly larger

                    proportion (z-score = 5.24, p<.05) of respondents would be less likely to purchase the

                    product again if they were told or otherwise learned that the product contained no white

                    chocolate or chocolate of any kind.




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                Nestle Toll House’s Premier White Morsels



                •   Based on a review of the package for Nestle Toll House’s Premier White Morsels, 95.33

                    percent of the respondents indicated that they believe the product contains white

                    chocolate while 4.67 percent do not think the product contains white chocolate. A

                    statistically significantly larger proportion (z-score = 12.04, p<.05) of respondents

                    believe the product contains white chocolate.



                •   When planning to bake with white chocolate chips, 94.39 percent of the respondents said

                    they would consider purchasing Nestle Toll House’s Premier White Morsels compared

                    with 5.61 percent said they would not. A statistically significantly larger proportion (z-

                    score = 11.89, p<.05) of respondents would purchase this product if they were planning

                    on baking with white chocolate chips.



                •   With respect to the question that asked “If, after purchasing this product, you learned that

                    the product contained no white chocolate or chocolate of any kind, would you be less or

                    more satisfied with your purchase?”, 62.30 percent of the respondents indicated that they

                    would be “much less satisfied” or “somewhat less satisfied” while 37.70 percent of the

                    respondents would be “neither less nor more satisfied,” “somewhat more satisfied,” or

                    “much more satisfied.” A statistically significantly larger proportion (z-score = 4.28,

                    p<.05) of respondents would be less satisfied if they found out that the product contained

                    no white chocolate or chocolate of any kind rather than neutral or more satisfied.




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                •   With respect to the question that asked “If, after purchasing this product, you were told or

                    otherwise learned that the product contained no white chocolate or chocolate of any kind,

                    would you be less or more likely to purchase the product again?”, 62.61 percent of the

                    respondents indicated that they would be “much less likely to purchase again” or

                    “somewhat less likely to purchase again” while 37.39 percent of the respondents would

                    be “neither less nor more likely to purchase again,” “somewhat more likely to purchase

                    again,” or “much more likely to purchase again.” A statistically significantly larger

                    proportion (z-score = 4.38, p<.05) of respondents would be less likely to purchase the

                    product again if they were told or otherwise learned that the product contained no white

                    chocolate or chocolate of any kind.



                Target’s Market Pantry White Baking Morsels



                •   Based on a review of the package for Target’s Market Pantry White Baking Morsels,

                    88.44 percent of the respondents indicated that they believe the product contains white

                    chocolate while 11.56 percent do not think the product contains white chocolate. A

                    statistically significantly larger proportion (z-score = 10.90, p<.05) of respondents

                    believe the product contains white chocolate.



                •   When planning to bake with white chocolate chips, 85.63 percent of the respondents said

                    they would consider purchasing Target’s Market Pantry White Baking Morsels compared

                    with 14.37 percent said they would not. A statistically significantly larger proportion (z-




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                    score = 10.38, p<.05) of respondents would purchase this product if they were planning

                    on baking with white chocolate chips.



                •   With respect to the question that asked “If, after purchasing this product, you learned that

                    the product contained no white chocolate or chocolate of any kind, would you be less or

                    more satisfied with your purchase?”, 71.56 percent of the respondents indicated that they

                    would be “much less satisfied” or “somewhat less satisfied” while 28.44 percent of the

                    respondents would be “neither less nor more satisfied,” “somewhat more satisfied,” or

                    “much more satisfied.” A statistically significantly larger proportion (z-score = 7.08,

                    p<.05) of respondents would be less satisfied if they found out that the product contained

                    no white chocolate or chocolate of any kind rather than neutral or more satisfied.



                •   With respect to the question that asked “If, after purchasing this product, you were told or

                    otherwise learned that the product contained no white chocolate or chocolate of any kind,

                    would you be less or more likely to purchase the product again?”, 73.75 percent of the

                    respondents indicated that they would be “much less likely to purchase again” or

                    “somewhat less likely to purchase again” while 26.25 percent of the respondents would

                    be “neither less nor more likely to purchase again,” “somewhat more likely to purchase

                    again,” or “much more likely to purchase again.” A statistically significantly larger

                    proportion (z-score = 7.68, p<.05) of respondents would be less likely to purchase the

                    product again if they were told or otherwise learned that the product contained no white

                    chocolate or chocolate of any kind.




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                Walmart’s Great Value White Baking Chips



                •   Based on a review of the package for Walmart’s Great Value White Baking Chips, 89.91

                    percent of the respondents indicated that they believe the product contains white

                    chocolate while 10.09 percent do not think the product contains white chocolate. A

                    statistically significantly larger proportion (z-score = 11.03, p<.05) of respondents

                    believe the product contains white chocolate.



                •   When planning to bake with white chocolate chips, 81.39 percent of the respondents said

                    they would consider purchasing Walmart’s Great Value White Baking Chips compared

                    with 18.61 percent said they would not. A statistically significantly larger proportion (z-

                    score = 9.47, p<.05) of respondents would purchase this product if they were planning on

                    baking with white chocolate chips.



                •   With respect to the question that asked “If, after purchasing this product, you learned that

                    the product contained no white chocolate or chocolate of any kind, would you be less or

                    more satisfied with your purchase?”, 70.34 percent of the respondents indicated that they

                    would be “much less satisfied” or “somewhat less satisfied” while 29.66 percent of the

                    respondents would be “neither less nor more satisfied,” “somewhat more satisfied,” or

                    “much more satisfied.” A statistically significantly larger proportion (z-score = 6.71,

                    p<.05) of respondents would be less satisfied if they found out that the product contained

                    no white chocolate or chocolate of any kind rather than neutral or more satisfied.




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                •   With respect to the question that asked “If, after purchasing this product, you were told or

                    otherwise learned that the product contained no white chocolate or chocolate of any kind,

                    would you be less or more likely to purchase the product again?”, 69.40 percent of the

                    respondents indicated that they would be “much less likely to purchase again” or

                    “somewhat less likely to purchase again” while 30.60 percent of the respondents would

                    be “neither less nor more likely to purchase again,” “somewhat more likely to purchase

                    again,” or “much more likely to purchase again.” A statistically significantly larger

                    proportion (z-score = 6.44, p<.05) of respondents would be less likely to purchase the

                    product again if they were told or otherwise learned that the product contained no white

                    chocolate or chocolate of any kind.




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            Conclusion



            In the case of each product studied (Ghirardelli’s Classic White Chips, Nestle Toll House’s

            Premier White Morsels, Target’s Market Pantry White Baking Morsels, and Walmart’s Great

            Value White Baking Chips), an overwhelming percentage of the consumers believe each product

            contains white chocolate. Based on this belief, we also find significant evidence that consumers

            would consider purchasing each product when planning on baking with white chocolate chips.

            However, for each product, a significantly larger proportion of the consumers indicated that they

            would be “much less satisfied” or “somewhat less satisfied” if they learned that the product

            contained no white chocolate or chocolate of any kind. Finally, for each product, a significantly

            larger proportion of respondents would be less likely to purchase the product again if they were

            told or otherwise learned that the product contained no white chocolate or chocolate of any kind.




                                                                                       4/24/2020
            ___________________________________                                 _______________________

            Forrest V. Morgeson III, Ph.D.                                      Date




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            Appendix 1: Researchers



            Dr. Forrest V. Morgeson III is a member of the faculty of Marketing in the Broad College of

            Business at Michigan State University and Director of Research at the American Customer

            Satisfaction Index. Morgeson’s first book, titled Citizen Satisfaction: Improving Government

            Performance, Efficiency, and Citizen Trust, was released in 2014 (Palgrave Macmillan). He has

            consulted with numerous corporations and governments in more than 30 countries.



            Dr. G. Tomas M. Hult is Professor and Byington Endowed Chair in the Broad College of

            Business at Michigan State University and a researcher at the American Customer Satisfaction

            Index. Hult is a member of the Expert Networks of the World Economic Forum and United

            Nations / UNCTAD's World Investment Forum. He is a Fellow of Academy of International

            Business and the 2016 Academy of Marketing Science Distinguished Marketing Educator.




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            Appendix 3: Demographics



            How often would you say you make baked goods?




             #                            Answer Ghirardelli        Nestle   Target   Walmart      Overall

             1            A few times each week         21.3%       16.2%    18.8%     19.9%       19.01%

             2                About once a week         39.1%       45.8%    41.9%     40.7%       41.86%

             3               About once a month         36.3%       36.8%    36.6%     36.3%       36.46%
                          About once every three
             4
                                        months
                                                             2.8%   0.6%     1.9%       3.2%        2.11%

             5      About once every six months              0.6%   0.6%     0.9%       0.0%        0.55%

                                             Total      n=320       n=321    n=320     n=317       n=1,278




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            Appendix 3 Continued: Demographics


            In general, when you shop for items in the grocery store or supermarket to
            use when making baked goods, how carefully would you say you examine the
            packaging of the product before making your purchase?




             #      Answer     Ghirardelli         Nestle    Target   Walmart   Overall
                  Not at all
             1
                  carefully
                                     7.2%           6.2%     7.5%       6.0%     6.73%
                 Somewhat
             2                     56.3%          61.1%      59.4%     55.2%    57.98%
                  carefully
                      Very
             3
                  carefully
                                   36.6%          32.7%      33.1%     38.8%    35.29%

                      Total        n=320          n=321      n=320     n=317    n=1,278




                                                                                          26 | P a g e
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            Appendix 3 Continued: Demographics


            What is the highest level of formal education you have completed?



             #                  Answer      Ghirardelli      Nestle   Target   Walmart      Overall
                          Less than high
             1
                        school graduate
                                                  1.3%       1.6%     3.8%       1.9%         2.12%
                            High school
             2                                  22.5%        25.4%    20.1%     19.9%       22.00%
                                graduate
                        Some college or
             3
                        associate degree
                                                38.4%        33.9%    35.7%     30.0%       34.56%

             4         College graduate         26.9%        28.8%    27.0%     32.8%       28.91%

             5            Post-graduate         10.0%        10.3%    13.5%     15.5%       12.33%

             6             Do not know            0.0%       0.0%     0.0%       0.0%         0.00%

             7         Refuse to answer           0.3%       0.0%     0.0%       0.0%         0.08%

                                   Total        n=320        n=321    n=320     n=317       n=1,278




                                                                                         27 | P a g e
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            Appendix 3 Continued: Demographics


            Do you consider yourself to be:

             #                  Answer       Ghirardelli     Nestle   Target   Walmart      Overall

             1                    White         72.8%        75.9%    72.7%     70.0%       72.98%
                          Black/African
             2                                  10.4%        11.6%    12.5%     14.5%       12.25%
                              American
                              American
             3            Indian/Alaska           0.9%       0.9%     1.9%       0.6%        1.10%
                                 Native
             4                    Asian           4.7%       3.1%     2.2%       5.0%        3.77%
                    Native Hawaiian or
             5
                        Pacific Islander
                                                  0.6%       0.3%     0.6%       0.0%        0.39%
                    Hispanic/Latino of
             6                                    8.2%       5.0%     6.6%       8.2%        6.99%
                               any race
             7      Other or mixed race           1.6%       3.1%     3.1%       0.6%        2.12%

             8             Do not know            0.3%       0.0%     0.0%       0.0%        0.08%

             9         Refuse to answer           0.0%       0.0%     0.3%       0.9%        0.31%

                                   Total         n=320       n=321    n=320     n=317       n=1,278




                                                                                         28 | P a g e
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            Appendix 3 Continued: Demographics


            What was your total annual family income in 2019?

             #                    Answer      Ghirardelli    Nestle   Target   Walmart      Overall

             1            Under $20,000           15.1%      14.1%    13.2%     13.2%       13.90%

             2        $20,000 to $30,000          13.2%      12.2%    14.7%     10.1%       12.57%

             3        $30,001 to $40,000          14.2%      10.7%    11.0%     12.3%       12.02%

             4        $40,001 to $60,000          17.3%      18.5%    16.6%     19.6%       17.99%

             5        $60,001 to $80,000          14.2%      13.5%    16.6%     15.5%       14.93%
                               $80,001 to
             6
                                $100,000
                                                   8.5%      8.2%     10.0%     11.0%        9.43%

             7         $100,001 or more           13.5%      18.2%    13.8%     16.1%       15.40%

             8              Do not know            0.9%      1.6%     0.9%       0.6%        1.02%

             9          Refuse to answer           3.1%      3.1%     3.1%       1.6%        2.75%

                                    Total         n=320      n=321    n=320     n=317       n=1,278




                                                                                         29 | P a g e
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            Appendix 3 Continued: Demographics


            Gender




             #                   Answer      Ghirardelli     Nestle   Target   Walmart      Overall

             1                   Female          65.7%       70.8%    64.6%     67.5%       67.16%

             2                      Male         34.3%       29.2%    35.4%     32.5%       32.84%

             3                     Other          0.0%       0.0%     0.0%       0.0%        0.00%

             4              Do not know           0.0%       0.0%     0.0%       0.0%        0.00%

             5         Refuse to answer           0.0%       0.0%     0.0%       0.0%        0.00%

                                   Total         n=320       n=321    n=320     n=317       n=1,278




                                                                                         30 | P a g e
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            Appendix 4: Detailed Results for Ghirardelli’s Classic White Chips


            Based on your review of this package, do you think that this product contains
            white chocolate?




             #                                   Answer                    %           Count

             1                                       Yes              91.88%            294

             2                                       No                8.13%             26

                                                   Total                100%            320




                                                                                 31 | P a g e
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            Appendix 4 Continued: Detailed Results for Ghirardelli’s Classic White Chips


            Would you consider purchasing this product if you were planning to bake
            with white chocolate chips?




             #                                   Answer                   %                     Count

             1                                       Yes              92.19%                      295

             2                                       No                7.81%                       25

                                                   Total               100%                       320




                                                                                           32 | P a g e
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            Appendix 4 Continued: Detailed Results for Ghirardelli’s Classic White Chips


            If, after purchasing this product, you learned that the product contained no
            white chocolate or chocolate of any kind, would you be less or more satisfied
            with your purchase?




             #                                                              Answer         %         Count

             1                                                   Much less satisfied   45.94%          147

             2                                               Somewhat less satisfied   18.75%           60

             3                                     Neither less nor more satisfied     17.19%           55

             4                                          Somewhat more satisfied        9.06%            29

             5                                                  Much more satisfied    9.06%            29

                                                                              Total     100%           320




                                                                                                33 | P a g e
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            Appendix 4 Continued: Detailed Results for Ghirardelli’s Classic White Chips


            If, after purchasing this product, you were told or otherwise learned that the
            product contained no white chocolate or chocolate of any kind, would you be
            less or more likely to purchase the product again?




             #                                                                   Answer         %         Count

             1                                         Much less likely to purchase again   49.69%          159

             2                                    Somewhat less likely to purchase again    15.63%           50

             3                             Neither less nor more likely to purchase again   20.63%           66

             4                                   Somewhat more likely to purchase again     7.50%            24

             5                                       Much more likely to purchase again     6.56%            21

                                                                                   Total     100%           320




                                                                                                     34 | P a g e
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            Appendix 5: Detailed Results for Nestle Toll House’s Premier White Morsels


            Based on your review of this package, do you think that this product contains
            white chocolate




             #                                   Answer                   %                   Count

             1                                       Yes             95.33%                     306

             2                                       No               4.67%                      15

                                                   Total               100%                     321




                                                                                         35 | P a g e
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            Appendix 5 Continued: Detailed Results for Nestle Toll House’s Premier White Morsels


            Would you consider purchasing this product if you were planning to bake
            with white chocolate chips?




             #                                   Answer                  %                    Count

             1                                       Yes             94.39%                     303

             2                                       No               5.61%                        18

                                                   Total              100%                      321




                                                                                         36 | P a g e
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            Appendix 5 Continued: Detailed Results for Nestle Toll House’s Premier White Morsels


            If, after purchasing this product, you learned that the product contained no
            white chocolate or chocolate of any kind, would you be less or more satisfied
            with your purchase?




             #                                                              Answer         %         Count

             1                                                   Much less satisfied   41.43%          133

             2                                               Somewhat less satisfied   20.87%           67

             3                                     Neither less nor more satisfied     19.00%           61

             4                                          Somewhat more satisfied        9.35%            30

             5                                                  Much more satisfied    9.35%            30

                                                                              Total     100%           321




                                                                                                37 | P a g e
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            Appendix 5 Continued: Detailed Results for Nestle Toll House’s Premier White Morsels


            If, after purchasing this product, you were told or otherwise learned that the
            product contained no white chocolate or chocolate of any kind, would you be
            less or more likely to purchase the product again?




             #                                                                   Answer         %         Count

             1                                         Much less likely to purchase again   45.79%          147

             2                                    Somewhat less likely to purchase again    16.82%           54

             3                             Neither less nor more likely to purchase again   19.94%           64

             4                                   Somewhat more likely to purchase again     10.90%           35

             5                                       Much more likely to purchase again     6.54%            21

                                                                                   Total     100%           321




                                                                                                     38 | P a g e
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            Appendix 6: Detailed Results for Target’s Market Pantry White Baking Morsels


            Based on your review of this package, do you think that this product contains
            white chocolate?




             #                                   Answer                  %                      Count

             1                                       Yes            88.44%                        283

             2                                       No             11.56%                         37

                                                   Total              100%                        320




                                                                                           39 | P a g e
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            Appendix 6 Ctd: Detailed Results for Target’s Market Pantry White Baking Morsels


            Would you consider purchasing this product if you were planning to bake
            with white chocolate chips?




             #                                   Answer                  %                     Count

             1                                       Yes            85.63%                      274

             2                                       No             14.37%                       46

                                                   Total             100%                       320




                                                                                        40 | P a g e
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            Appendix 6 Ctd: Detailed Results for Target’s Market Pantry White Baking Morsels


            If, after purchasing this product, you learned that the product contained no
            white chocolate or chocolate of any kind, would you be less or more satisfied
            with your purchase?




             #                                                              Answer         %         Count

             1                                                   Much less satisfied   54.06%          173

             2                                               Somewhat less satisfied   17.50%           56

             3                                     Neither less nor more satisfied     17.50%           56

             4                                          Somewhat more satisfied        6.88%            22

             5                                                  Much more satisfied    4.06%            13

                                                                              Total     100%           320




                                                                                                41 | P a g e
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            Appendix 6 Ctd: Detailed Results for Target’s Market Pantry White Baking Morsels


            If, after purchasing this product, you were told or otherwise learned that the
            product contained no white chocolate or chocolate of any kind, would you be
            less or more likely to purchase the product again?




             #                                                                   Answer         %         Count

             1                                         Much less likely to purchase again   57.50%          184

             2                                    Somewhat less likely to purchase again    16.25%           52

             3                             Neither less nor more likely to purchase again   15.94%           51

             4                                   Somewhat more likely to purchase again     6.56%            21

             5                                       Much more likely to purchase again     3.75%            12

                                                                                   Total     100%           320




                                                                                                     42 | P a g e
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            Appendix 7: Detailed Results for Walmart’s Great Value White Baking Chips



            Based on your review of this package, do you think that this product contains
            white chocolate?




             #                                   Answer                 %                    Count

             1                                       Yes            89.91%                     285

             2                                       No             10.09%                      32

                                                   Total             100%                      317




                                                                                        43 | P a g e
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            Appendix 7 Continued: Detailed Results for Walmart’s Great Value White Baking Chips


            Would you purchase this product if you were planning to bake with white
            chocolate chips?




                                                 Answer                 %                   Count
             #
             1                                       Yes           81.39%                     258

             2                                       No            18.61%                      59

                                                   Total             100%                     317




                                                                                       44 | P a g e
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            Appendix 7 Continued: Detailed Results for Walmart’s Great Value White Baking Chips


            If, after purchasing this product, you learned that the product contained no
            white chocolate or chocolate of any kind, would you be less or more satisfied
            with your purchase?




             #                                                              Answer         %         Count

             1                                                   Much less satisfied   47.63%          151

             2                                               Somewhat less satisfied   22.71%           72

             3                                     Neither less nor more satisfied     15.46%           49

             4                                          Somewhat more satisfied        7.26%            23

             5                                                  Much more satisfied    6.94%            22

                                                                              Total     100%           317




                                                                                                45 | P a g e
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            Appendix 7 Continued: Detailed Results for Walmart’s Great Value White Baking Chips


            If, after purchasing this product, you were told or otherwise learned that the
            product contained no white chocolate or chocolate of any kind, would you be
            less or more likely to purchase the product again?




             #                                                                   Answer         %         Count

             1                                         Much less likely to purchase again   53.00%          168

             2                                    Somewhat less likely to purchase again    16.40%           52

             3                             Neither less nor more likely to purchase again   17.03%           54

             4                                   Somewhat more likely to purchase again     7.26%            23

             5                                       Much more likely to purchase again     6.31%            20

                                                                                   Total     100%           317




                                                                                                     46 | P a g e
